           Case 1:22-cr-00096-CKK Document 300 Filed 07/24/23 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :      NO. 22-cr-00096-CKK
                                                      :
                v.                                    :
                                                      :
LAUREN HANDY, et al.,                                 :
                                                      :
                Defendant.                            :


                 GOVERNMENT’S SURREPLY IN OPPOSITION
      TO DEFENDANT HANDY’S REPLY TO RESPONSE TO MOTION TO DISMISS

         The United States of America, by and through its counsel of record, respectfully submits a

surreply, as directed by this honorable Court, to defendant Handy’s argument that retroactive

application of Dobbs 1 precludes the government from prosecuting her under 18 U.S.C. § 241, the

civil rights conspiracy statute. The arguments the government responds to were made in defendant

Handy’s Reply (ECF # 197) to the Government’s Response (ECF # 189) to Handy’s Motion to

Dismiss (Doc 159). 2

         The conduct alleged in the Indictment occurred before the Supreme Court issued its opinion

in Dobbs. Access to abortion-related services was then controlled by Roe, 3 which recognized a

right to abortion, protected against governmental interference by the Fourteenth Amendment

(albeit with recognized limitations against late term abortions). Dobbs overruled Roe, but because

Dobbs does not apply retroactively, the right to abortion clearly existed at the time of the




1
    Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 213 L. Ed. 2d 545 (June 24, 2022).
2
  Co-defendants Jonathan Darnel, Joan Bell, William Goodman, and Paula Paulette Harlow have
filed a joinder notice with respect to both replies. See Docs. 199 – 202.
3
    Roe v. Wade, 410 U.S. 113 (1973).
                                                 1
         Case 1:22-cr-00096-CKK Document 300 Filed 07/24/23 Page 2 of 7




defendants’ conduct. However, the government does not urge this Court to uphold the conspiracy

count on this basis. Instead, the government continues to maintain that the source of the right to

reproductive health can be found in the civil provisions of the FACE Act, which Congress had

jurisdiction to enact under the Commerce Clause.

                                            Argument

       A. DOBBS DOES NOT APPLY RETROACTIVELY

       This Court requested that the government’s surreply focus on the “retroactive application

of Dobbs as to 18 U.S.C. 241.” (Minute Order of 7/20/23). 4 Dobbs does not apply retroactively.

At the time of the events described in the Indictment, patients had the right to obtain (and health

care professionals had the right to provide) those abortion-related services protected by Roe. 5 A

contrary holding would allow any state that had anti-abortion laws on its books before Dobbs to

impose civil fines – or even to prosecute – persons who obtained or provided these services at a

time when this nation’s highest court recognized that its most fundamental founding document

protected that right. Such punishment would violate the Ex Post Facto Clause and deprive

individuals of fair warning that their conduct was illegal. See, e.g., Dobbs, 142 S. Ct. 2228, 2309



4
 The Court directed the government’s attention to p.25 of the defendant’s reply brief, which states
“Accordingly, there is no longer (and never was) a federal civil right to unimpeded access
reproductive health care facilities (whatever one’s state and local rights to be free from assaults
and obstructions on public rights-of-way and in accessing clinics, etc.) to exercise a supposed (but
not actual) civil right to obtain an abortion.”
5
  To be sure, prior to Dobbs, some jurists, academics, and commentators expressed skepticism
about the continued viability of Roe. Such skepticism is insufficient to undermine the application
of Roe. See Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989) (holding
that “[i]f a precedent of this Court has direct application in a case, yet appears to rest on reasons
rejected in some other line of decisions, the Court of Appeals should follow the case which directly
controls, leaving to this Court the prerogative of overruling its own decisions.”).




                                                 2
            Case 1:22-cr-00096-CKK Document 300 Filed 07/24/23 Page 3 of 7




(2022) (Kavanaugh, J., concurring) (“May a State retroactively impose liability or punishment for

an abortion that occurred before today's decision takes effect? In my view, the answer is no based

on the Due Process Clause or the Ex Post Facto Clause.”); United States v. Gallagher, No. 3:22-

CR-00327, 2023 WL 4317264, at *12 (M.D. Tenn. July 3, 2023) (“The Supreme Court was clear,

in Dobbs, that it was making a change in binding Supreme Court precedent, not interpreting a past

rule.”).

           In sum, at the time of the conduct set forth in the Indictment, patients at the clinic had a

right to abortion protected by Roe. However, federal courts, including the D.C. Circuit, have not

historically relied on the Fourteenth Amendment, as interpreted by Roe, as a basis for upholding

the constitutionality of either the criminal or civil provisions of the FACE Act. See Terry v. Reno,

101 F.3d 1412, 1417 (D.C. Cir. 1996) (upholding FACE Act under pre-enforcement challenge to

its constitutionality).      The government, moreover, does not take the position that the

constitutionality of the FACE is premised upon the Fourteenth Amendment. 6

           B. DOBBS DOES NOT AFFECT THE § 241 CONSPIRACY CHARGE.

           Count One alleges that the defendants conspired to violate the right to obtain and provide

reproductive health services. As explained in the government’s previous pleadings, this right is

secured and protected by the civil provisions of the FACE Act. 18 U.S.C. § 248(c). The FACE

Act is itself is a constitutional exercise of Congress’s Commerce Clause authority, which was left

undisturbed by Dobbs.

           The Supreme Court recently reiterated that federal laws providing remedies for violations

of individual rights are enforceable through the nation’s civil rights laws. See Health & Hosp.



6
  The Fourteenth Amendment serves only as a limitation on state authority and could serve as the
jurisdictional basis for the prosecution of state actors but not for the prosecution of private persons.
Bray v. Alexandria Women's Health Clinic, 506 U.S. 263, 278 (1993).
                                                    3
           Case 1:22-cr-00096-CKK Document 300 Filed 07/24/23 Page 4 of 7




Corp. of Marion Cnty. v. Talevski, 143 S. Ct. 1444, 1450 (2023) (interpreting 42 U.S.C. § 1983,

the civil analogue of the criminal civil rights acts, and holding that the Federal Nursing Home

Reform Act, created a right “secured by the Constitution and laws”). Indeed, the Talevski Court

stressed that laws creating such rights are presumptively enforceable under § 1983 (and thus, by

extension, under § 241). 7

                                               Conclusion

       For the foregoing reasons, the Government requests that this Court deny the Motion to

Dismiss.

                                                     Respectfully submitted,

                                                     KRISTEN CLARKE
                                                     ASSISTANT ATTORNEY GENERAL
                                                     CIVIL RIGHTS DIVISION
                                                     /s/ Sanjay H. Patel
                                                     SANJAY H. PATEL
                                                     IL Bar. No. 6272840
                                                     Trial Attorney
                                                     Criminal Section, Civil Rights Division
                                                     Email: Sanjay.Patel@usdoj.gov

                                                     MATTHEW M. GRAVES
                                                     UNITED STATES ATTORNEY
                                                     D.C. Bar No. 481052
                                                     /s/ John Crabb Jr.
                                                     JOHN CRABB JR.
                                                     NY Bar No. 2367670

7
  United States v. Bigham, 812 F.2d 943, 948 (5th Cir. 1987) (applying § 1983 jurisprudence to
analyze charges brought pursuant to § 241 and § 242, and explaining that it was “of no
significance” whether a case is “brought on the civil or criminal side of the docket,” because both
involve “deprivation of rights secured by the Constitution or laws of the United States” and “cover
the same cases, though providing different remedies.”) (collecting cases); cf also United States v.
Stewart, No. 22-3682, 2023 WL 4411856, at *3 (6th Cir. July 10, 2023) (discussing parallels
between criminal and civil civil rights statutes)




                                                4
Case 1:22-cr-00096-CKK Document 300 Filed 07/24/23 Page 5 of 7




                                  REBECCA G. ROSS
                                  NY Bar No. 5590666
                                  Assistant United States Attorneys
                                  601 D Street, NW
                                  Washington, DC 20001
                                  Email: John.D.Crabb@usdoj.gov




                              5
         Case 1:22-cr-00096-CKK Document 300 Filed 07/24/23 Page 6 of 7




                               CERTIFICATE OF SERVICE

       SANJAY H. PATEL, attorney for the United States, hereby certifies that a true and correct
copy of the surreply has been electronically filed and accordingly served upon attorney for the
defendant.

DATE: July 24, 2023                                        /s/ Sanjay H. Patel
                                                           Sanjay H. Patel




                                               6
        Case 1:22-cr-00096-CKK Document 300 Filed 07/24/23 Page 7 of 7




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          :       CRIMINAL NO. 22-cr-96-CKK
                                                  :
              v.                                  :
                                                  :
LAUREN HANDY,                                     :
                                                  :
              Defendant.                          :


                                          ORDER

              AND NOW, this ____ day of ___________________202__, after reviewing the

submissions by the Government and defense counsel, and a hearing on this matter;

              It is hereby ORDERED that the defendant’s motion to dismiss is DENIED.



                                    BY THE COURT:



                                    ________________________________________________
                                    THE HONORABLE COLLEEN KOLLAR-KOTELLY
                                    United States District Judge




                                              7
